         Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 1 of 11



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
               v.
                                                           1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


  DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY IN
          SUPPORT OF ITS MOTION FOR SHOW CAUSE ORDER

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully submits this reply brief in support of its motion

seeking an order to show cause why Attorney General William Barr (“AG Barr”) and Special

Counsel Robert S. Mueller III (“SC Mueller”) should not be held in contempt for violating

United States District Court for the District of Columbia Local Criminal Rule 57.7 (the

“Motion”).

       Introduction

       The question for the Court is a simple one. Can a federal prosecutor publicly describe the

evidence and state orally and in a written report that a defendant is guilty while a criminal case is

pending trial? The answer, which is no, is found in the law and regulations ignored by the

government.    Instead, the government conflates the violation of a local rule and federal

regulations with whether or not a remedy is appropriate, arguing that: 1) the statements in the

Mueller Report track the Indictment, and 2) no trial date has been set, and as such there has been

no harm to Concord. See Gov’t Opp’n To Def’s Mot. Show Cause 3-4 (“Opp’n”). The

government compounds its violation by failing to cite to a single authority supporting its



                                                 1
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 2 of 11



incorrect interpretation of law as required by LCrR 47(b), and as such has arguably conceded

contempt.1 As the government would have it, this Court would be the first Court in any reported

decision to find no fault with such prosecutorial misconduct.

       According to the government, there is no harm in the Attorney General and Special

Counsel publicly stating, in a manner designed to achieve maximum media coverage, that the

Defendants are both guilty and were acting on behalf of the Russian government in an

overarching two-pronged scheme involving Russian military intelligence because the jury pool

will forget about these statements by the time of trial. See Opp’n 4. Putting aside that there is no

case authority for this novel and incorrect interpretation of LCrR 57.7 and related prohibitions

regarding extra-judicial statements, any such interpretation would apply a no harm-no foul

exception, making the rule meaningless. Moreover, the government does not challenge, and thus

has conceded, that the Attorney General and the Special Counsel acted willfully. See Wannall v.

Honeywell, Inc., 775 F.3d 425, 428 (D.C. Cir. 2014) (“[I]f a party files an opposition to a motion

and therein addresses only some of the movant’s arguments, the court may treat the unaddressed

arguments as conceded.”).2

       The Redactions to the Mueller Report Were for the Purpose of Hiding Evidence
       From Concord, Not for Ensuring a Fair Trial

       While the government hypes the fact that the portions of the Mueller Report relating to

the Indictment in this case were redacted in part, it is now absolutely clear that not a single

1
 LCrR 47(b) states that, “Within 14 days of the date of service . . . an opposing party shall serve
and file a memorandum of points and authorities in opposition to the motion. If such
memorandum is not filed within the prescribed time, the Court may treat the motion as
conceded.” (Emphasis added).
2
  AG Barr also conceded willfulness by stating in testimony on May 1, 2019, “I was making a
decision as to whether or not to make [the Mueller Report] public and I effectively overrode the
regulations, used discretion to lean as far forward as I could to make that public . . .” Ex. A,
Hr’g on Justice Dep’t Investigation of Russian Interference in 2016 Presidential Election Before
the Senate Judiciary Comm., 116th Cong. (May 1, 2019).


                                                 2
          Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 3 of 11



redaction was for the purpose of protecting the rights of Concord, but instead were for the

purpose of continuing to hide evidence from Concord. This is apparent from civil litigation in

this Court related to the Mueller Report.

         Pursuant to a court order in a civil lawsuit filed under the Freedom of Information Act

(“FOIA”), on Monday, May 6, 2019, the Department of Justice (“DOJ”) released a new version

of the Mueller Report. See Elec. Privacy Info. Ctr. v. Dep’t of Justice, No. 19-810 (D.D.C. May

3, 2019), ECF No. 43; FOIA-Processed Report on the Investigation into Russian Interference in

the 2016 Presidential Election (March 2019), available at https://www.justice.gov/oip/available-

documents-oip (the “FOIA Report”). The redactions in the new version of the Report are

identical, but as ordered by Judge Walton, each redaction now refers to the appropriate FOIA

exemption allegedly justifying the redaction. See FOIA Report. The DOJ also sent a letter to the

plaintiff in the FOIA litigation explaining that redactions were made pursuant to seven different

FOIA exemptions. Ex. B, Letter from DOJ Office of Information Policy to Jason Leopold,

Senior     Investigative   Report,   BuzzFeed       News   (May     6,   2019),    available     at

https://twitter.com/JasonLeopold/status/1125548527080239104/photo/1.       (“the Letter”).     The

FOIA exemptions related to the allegations in the Indictment were as follows:

   (b)(7)(A), which pertains to records or information compiled for law enforcement
    purposes, the release of which could reasonably be expected to interfere with
    enforcement proceedings.

   (b)(7)(E), which pertains to records or information compiled for law enforcement
    purposes, the release of which would disclose techniques or procedures for law
    enforcement investigations or prosecutions.

   (b)(3), which pertains to information “specifically exempted from release by statute other
    than the FOIA (in this instance, the National Security Act of 1947, 50 U.S.C. §
    3024(i)(1), which pertains to intelligence sources and methods, and Rule 6(e) of the
    Federal Rules of Criminal Procedure, which pertains to the secrecy of grand jury
    proceedings).”




                                                3
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 4 of 11



   (b)(7)(C), which pertains to records or information compiled for law enforcement
    purposes, the release of which could reasonably be expected to constitute an unwarranted
    invasion of personal privacy.

   (b)(6), which pertains to information the release of which would constitute a clearly
    unwarranted invasion of personal privacy.

FOIA Report Vol I. 14-35.

       The Letter also refers to a FOIA exemption (b)(7)(B), which pertains to “records or

information compiled for law enforcement purposes, the release of which would deprive a person

of a right to a fair trial or an impartial adjudication.” See Ex. B. But exemption (b)(7)(B) is not

referenced a single time in pages 14 through 35 of the Mueller Report, the pages that deal

exclusively with the allegations at issue in this criminal proceeding.         On the other hand,

exemption (b)(7)(B) is referenced throughout other sections of the Report. See FOIA Report

Vol. I 5, 9, 36, 44, 51-59, 65, 174, 176-80, 184, 189-91, 196-97; FOIA Report Vol. II 3, 6, 15,

17-18, 52, 77, 120, 128-30, 132-33, 147, 151, App. B, App. D. The government is clearly aware

of its obligation not to deprive a person of the right to a fair trial or impartial adjudication and

made documented efforts to uphold that obligation for others, but not for Concord.

       Moreover, the farcical notion proffered by the government that there is no harm because

Concord’s name was redacted in all but three instances, see Opp’n 3, ignores the fact that the

Indictment alleges—and the Mueller Report states—that Concord was responsible for all of the

activities of the Internet Research Agency, a co-defendant whose names appears over a hundred

times in the Mueller Report. See, e.g., Report 14-35.

       Disparate Treatment of Foreign National Concord

       With respect to the Special Counsel initiated case United States v. Stone, the government

redacted virtually all of the evidence against Stone, a U.S. national, from the public version of

the Mueller Report, the Attorney General made no statements about Stone, and the government


                                                 4
          Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 5 of 11



provided both the Court and Stone with advance notice of its efforts to protect Stone’s right to a

fair trial.   See No. 19-0018 (D.D.C. Apr. 17, 2019), ECF No. 85 (Government’s Notice

Regarding Report of the Special Counsel) (the “Stone Notice”).

        While undersigned counsel has no way of knowing which of the redactions that reference

FOIA exemption (b)(7)(B) relate specifically to Stone, it is clear that at least some of them

directly relate to Mr. Stone, see FOIA Report App. B-10, and more than likely that others do as

well. See FOIA Report Vol. I 51-59 (invoking exemption (b)(7)(B) over a hundred times in the

section titled “Trump Campaign and the Dissemination of Hacked Materials,” which is the

subject matter of the Introduction and Background sections of the Stone Indictment).3 In Stone,

Judge Jackson entered a gag order pursuant to LCrR. 57.7(c), which prohibits counsel for the

parties and witnesses “making statements to the media or in public settings that pose a

substantial likelihood of material prejudice to this case.” No. 19-0018, ECF No. 36. In so doing,

Judge Jackson noted that LCrR. 57.7(b)(1) applies to “any case in this district” and also that

“[b]ecause lawyers have special access to information through discovery and client

communications, their external statements pose a threat to the fairness of a pending proceeding.”

Id. (quoting Gentile v. State Bar of Nevada, 501 U.S. 1030, 1074 (1991)).4 In the Stone Notice,

the government referred specifically to both LCrR 57.7(b)(1) and the duty it imposes on a lawyer

not to release or authorize information or opinion if there is a reasonable likelihood that

dissemination will interfere with a fair trial or prejudice the due administration of justice, and to

3
  Should the Court deem this issue to be significant, it could issue an order similar to Judge
Jackson’s in the Stone case for an in camera review of the redactions that reference exemption
(b)(7)(B). See United States v. Stone, No. 19-0018 (May 9, 2019) (minute order) (ordering the
government to submit for in camera review unredacted versions of the Report that relate to Stone
and/or the dissemination of hacked materials, specifically including pages 41-65 of Volume I).
4
  The gag order in Stone does not distinguish the two cases because LCrR. 57.7(b) alone
prohibits AG Barr’s and SC Mueller’s statements in both cases.


                                                 5
         Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 6 of 11



Judge Jackson’s gag order pursuant to Rule 57.7(c). See Stone Notice 1-2. Despite this, the

government decided not to issue a similar notice in this case.

        In contrast to the government’s actions toward Concord here, more than a century of

Supreme Court case law recognizes “that foreign citizens in the United States enjoy many of the

same constitutional rights that U.S. Citizens do . . . [including] in the criminal process . . . .”

Bluman v. FEC, 800 F. Supp. 2d 281, 286 (D.D.C. 2011) (citing United States v. Verdugo-

Urquidez, 494 U.S. 259, 271 (1990)). Among these protections are those afforded by the Equal

Protection Clause. See id. (citing cases). “[E]qual protection is denied when there is unlawful

discrimination in the administration of an otherwise neutral law.” Kline v. Republic of El

Salvador, 603 F. Supp. 1313, 1319 (D.D.C. 1985) (citing Yick Wo v. Hopkins, 118 U.S. 356

(1886)). Fundamental to the Equal Protection analysis is whether similarly situated individuals

of a different national origin were treated differently. United States v. Armstrong, 517 U.S. 456,

465 (1996). Here, there can be no doubt that Stone was treated differently than Concord in an

effort to preserve the former’s right to a fair trial while denying it to the latter.

        The Government’s Misleading Characterizations of the Mueller Report

        Rather than focusing on the details provided in the Mueller Report that are not contained

in the Indictment, the government broadly claims that the twenty-two single spaced pages of the

Report merely repeat the allegations in the Indictment. This is not true.

        For example, the Report asserts that the Defendants’ activities “constituted ‘active

measures,’” and defines that term as “operations conducted by Russian security services.”

Report 14. No such allegation appears in the Indictment. The Report states that numerous media

sources have reported on Defendant Prigozhin’s ties to Russian President Putin. Report 17. No




                                                    6
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 7 of 11



such allegation appears in the Indictment.5 The Report states that the Defendants recruited U.S.

persons to hold signs in front of the White House. Report 19. The Indictment alleges only one

single person held any such sign. Indictment ¶ 12(b). The Report states that the Defendants

used a social media platform named Tumblr. Report 22. The Indictment contains no such

allegation. The Report states that the Defendants purchased certain anti-Clinton ads on March

18, 2016 and April 6, 2016, acts that are not alleged in the Indictment. Report 25. The Report

states the Defendants purchased certain pro-Trump ads that are not alleged in the Indictment.

Report 25. The Report states the number of Facebook followers of certain social media accounts

which are not alleged in the Indictment. Report 27. The Report states that U.S. media outlets

and “high profile” U.S. persons quoted and re-tweeted Defendants’ content. Report 27-28. No

such allegations are contained in the Indictment. The Report states numbers on Twitter accounts

and tweets by Defendants. Report 28-29. No such allegations are contained in the Indictment.

The Report states that some rallies organized by Defendants drew hundreds of attendees. Report

29. No such allegation appears in the Indictment. The Report states that Defendants used the

persona “Black Fist.” Report 32. No such allegation appears in the Indictment. The Report

states that the Trump Campaign promoted Defendants’ political materials, including retweeting

Defendants’ political content. Report 33-34. No such allegations appear in the Indictment.

       Furthermore, the government’s argument that there is no harm because the Report repeats

allegations in the Indictment equates the Indictment—which contains only allegations that must

be proven in court through admissible evidence—with the statements in the Mueller Report,

which are set forth as having been “established,” where “substantial, credible evidence enabled

the Office to reach a conclusion with confidence.” Report 2. Nowhere in the Report, or in AG

5
 Moreover, the sole source for this assertion is a single newspaper article from 2018. See Report
17 n. 22.


                                               7
         Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 8 of 11



Barr’s statements announcing its release, does the government explain to the public and the jury

pool that the statements relating to Concord or its alleged co-conspirators are unproven

allegations or that Concord is entitled to a presumption of innocence, as required by the DOJ

Manual. See Motion 9 (noting that the Justice Manual makes clear that a news release issued

before the finding of guilt should state that the charge is merely an accusation and the defendant

is innocent until proven guilty).

       The Government’s Conduct and Resulting Trial Publicity Undermine Concord’s
       Right to Fair Trial

       The Government ignores the jurisprudence that the court has the inherent power to

fashion appropriate relief in cases of prejudicial pre-trial publicity. “It is fundamental that ‘the

right to jury trial guarantees to the criminally accused a fair trial by a panel of impartial,

‘indifferent’ jurors.’” United States v. Haldeman, 559 F.2d 31, 60 (D.C. Cir. 1976) (quoting

Irvin v. Dowd, 366 U.S. 717, 722 (1961)). Although “[i]t is not required . . . that the jurors be

totally ignorant of the facts and issues involved,” Irvin, 366 U.S. at 722, the United States

Supreme Court has recognized that “adverse pretrial publicity can create such a presumption of

prejudice in a community that the jurors’ claims that they can be impartial should not be

believed.” Patton v. Yount, 467 U.S. 1025, 1031 (1984). “Wholesale public access even of

materials apparently relevant to criminal activity does not allow for the safe guards of the

criminal process as to what is admissible evidence and what is not.” United States v. Hubbard,

650 F.2d 293, 323 (D.C. Cir. 1980).

       The District of Columbia Circuit has recognized that egregious prosecutorial misconduct

“may so pollute a criminal prosecution as to require dismissal of the indictment [. . .] without

regard to prejudice to the accused.” United States v. McCord, 509 F.2d 334, 349 (D.C. Cir.

1974). As stated by Justice Brandeis, and noted by the Court in McCord, “[i]f the government



                                                 8
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 9 of 11



becomes a lawbreaker, it breeds contempt for the law; it invites every man to become a law unto

himself; it invites anarchy. To declare that in the administration of the criminal law the end

justifies the means—to declare that the government may commit crimes in order to secure the

conviction of a private criminal—would bring terrible retribution.” McCord, 509 F.2d at 349

(citing Olmstead v. United States, 277 U.S. 438, 468 (1928), Brandeis, J., (dissenting)).

       Attempting to influence public opinion by publishing materials related to a criminal

prosecution may warrant dismissal of an indictment. In re Anderson, 306 F. Supp. 712, 714

(D.D.C. 1969). In Anderson, the court dismissed a criminal prosecution against certain Howard

University students charged with criminal contempt related to student unrest when it became

apparent that the university had purchased full-page advertisements that were “likely to interfere

with a fair trial or otherwise prejudice the due administration of justice.” Id. (internal quotation

marks omitted). Even though the court ultimately concluded that the “University administration

proceeded unconscious of its responsibility to this Court and insensitive to the implications of its

actions,” the Court still concluded that dismissal was appropriate. Id. at 714-15; see also United

States v. Slough, 679 F. Supp. 2d 55, 60-61 (D.D.C. 2010) (noting that under its supervisory

powers a court may dismiss an indictment as a sanction for prosecutorial misconduct).

       The U.S. Supreme Court has also recognized that “[c]ollaboration between counsel and

the press as to information affecting the fairness of a criminal trial is not only subject to

regulation, but is highly censurable and worthy of disciplinary measures.” Sheppard v. Maxwell,

384 U.S. 333, 362 (1966). To that end, courts addressing claims of pretrial publicity also

consider reporting of statements made by prosecutors as part of that analysis. See Spivey v.

Head, 207 F.3d 1263, 1270 n.5 (11th Cir. 2000); United States v. Pratt, 807 F.3d 641, 649 (5th

Cir. 2015) (“Finally, we note that while prosecutorial misconduct is one route to a presumption




                                                 9
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 10 of 11



of prejudice, it is not the only one. In certain ‘extreme’ cases, pretrial publicity of any kind—not

just pretrial publicity stoked by prosecutors—can ‘manifestly taint[] a criminal prosecution…’”

(citations omitted)). Courts are, moreover, quick to condemn improper government conduct

which creates undue pretrial publicity. See United States v. Abbott Labs., 505 F.2d 565, 570-71

(4th Cir. 1974). In Abbott Labs, individuals from the DOJ and the FDA made statements to

reporters that led to pervasive reporting about deaths related to an allegedly misbranded and

adulterated drug sold by the defendant. Id. The court refused to dismiss the indictment but,

“accept[ed], without question, that the pretrial publicity in [that] case was prejudicial and highly

inflammatory” and that the underlying news reports were the results of “a conscious, deliberate

statement” made by DOJ and FDA officials. Id.

       As noted in Concord’s Motion (and ignored by the government in its Opposition),

prosecutors have a “responsibility of a minister of justice and not simply that of an advocate.”

Comments to D.C. Rule of Prof’l Conduct 3.8. As such, “[p]rosecutors maintain the integrity,

fairness and objectivity of the criminal justice system in part by refraining from speaking in

public about pending and impending cases except in very limited circumstances.                  The

government’s own list of applicable regulations and ethical rules demonstrates that the

prosecutors’ obligation of silence extends beyond ‘confidential and grand jury matters’ and

beyond the ‘prosecution team’ narrowly defined to include only those who participate in a

particular case.”   United States v. Bowen, 799 F.3d 366, 353-54 (5th Cir. 2015).            While

“statements to the press may be an integral part of a prosecutor’s job, and may serve a vital

public function, that function is strictly limited to the prosecutor’s overarching duty to do

justice.” Aversa v. United States, 99 F.3d 1200, 1215 (1st Cir. 1996) (quoting Souza v. Pina, 53

F.3d 423, 425 (1st Cir. 1995)). “Those who wield the power to make public statements about




                                                10
        Case 1:18-cr-00032-DLF Document 131 Filed 05/15/19 Page 11 of 11



criminal cases must ‘be guided solely by their sense of public responsibility for the attainment of

justice.’” Id. (quoting Young v. United States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 814

(1987)). “Equally important, the prosecutor must respect the presumption of innocence even as

he seeks to bring a defendant to justice.” Bowen, 799 F.3d at 354.

       Conclusion

       Both AG Barr and SC Mueller violated LCrR. 57.7 by willfully releasing information and

opinions not alleged in the Indictment knowing that the information and opinions would be

widely disseminated in the press. If they can evade sanctions for this conduct simply by arguing

ipse dixit that there cannot be prejudice when a trial date has yet to be set, then LCrR 57.7 is

meaningless. AG Barr and SC Mueller have not rebutted the prima facie case made by Concord,

and as such, Concord respectfully urges the Court to schedule a contempt hearing.


Dated: May 15, 2019                               Respectfully submitted,

                                                  CONCORD MANAGEMENT AND
                                                  CONSULTING LLC

                                                  By Counsel

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